             Case 3:11-cr-02652-BTM                      Document 740               Filed 10/15/14             PageID.2584             Page 1 of 5

      ~AO 2458 (CASD) (Rev. 4114)
                 Sheet I
                                     Judgment in a Criminal Case
                                                                                                                                  FILED
                                                                                                                                 OCT 1 5 7014
                                               UNITED STATES DISTRICT Co
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL \A\.~'"
                                         v.                                         (For Offenses Committed On or After November I, I

                     MIRIAM GARCIA HERRERA (6)                                      Case Number: IICR2652 BTM
                                                                                     John E. Ellis, Federal Defenders, Inc.
                                                                                    Defendant's Allomey
     REGISTRATION NO. 27012298

     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) TWO OF THE INDICTMENT.

     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Couut
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 841(a)(I), 846                  CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                      2




        The defendant is sentenced asprovided in pages 2 through      5    of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 ~ Count(s) REMAINING                                                                is   0    are~ dismissed on the motion of the United States.
 ~ Assessment: $100 to be paid within 90 days.


 ~ Fine waived                                      o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the COUIt and United States Attorney of any material change in the defendantls economic circumstances.
                                                                               October 3, 2014
                                                                              Date of Imposition of Sentence



                                                                                ~ed~~
                                                                              BON. BAR           TED MOSKOWITZ
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                               llCR2652 BTM
        Case 3:11-cr-02652-BTM                    Document 740     Filed 10/15/14        PageID.2585                Page 2 of 5
AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                           Judgment -   Page   __2:......_ of   5
 DEFENDANT: MIRIAM GARCIA HERRERA (6)
 CASE NUMBER: llCR2652 BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section J326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shaH surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shaH surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

I have executed this judgment as foHows:

        Defendant delivered on                                               to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                        UNITED STATES MARSHAL


                                                                   By ________~~~~~~~~~~-------
                                                                                     DEPUTY UNITED STATES MARSHAL




                                                                                                                        llCR2652 BTM
          Case 3:11-cr-02652-BTM                    Document 740              Filed 10/15/14            PageID.2586             Page 3 of 5
AO 2458 (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 .- Supervised Release
                                                                                                               Judgment-Page        3     of        5
DEFENDANT: MIRIAM GARCIA HERRERA (6)
CASE NUMBER: llCR2652 BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful usc of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tfie requirements of the Sex Offender Rcgistration and Notification Act (42 U.S.C. § 16901, ot scq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualitying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        llCR2652 BTM
              Case 3:11-cr-02652-BTM                     Document 740       Filed 10/15/14          PageID.2587           Page 4 of 5
        AD 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment   Page _ _4_ of _--,5,-_ _
        DEFENDANT: MIRIAM GARCIA HERRERA (6)
        CASE NUMBER: llCR2652 BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
IVI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
~ Not enter the Republic of Mexico without written pennission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
~ Not possess any narcotic drug or controlled substance without a lawful medical prescription.
~ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
~ Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within                 days.
o   Complete           hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                    llCR2652 BTM
   ,. Case 3:11-cr-02652-BTM                  Document 740    Filed 10/15/14        PageID.2588          Page 5 of 5



    AO 2458   (Rev. 2010) Judgment in a Criminal Case
              Sheet 3 - Continued 2 - Supervised Release

                                                                                   Judgment-Page     5     of       5
    DEFENDANT:            MIRIAM GARCIA HERRERA (6)                            D
    CASE NUMBER: llCR2652 BTM

                                    SPECIAL CONDITIONS OF SUPERVISION

     Be monitored for a period of 8        months, with the location monitoring technology at the discretion of the
     probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
     participation in the location monitoring program, as directed by the court andlor the probation officer. In addition to
     other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
     below:

     D You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _. (Curfew)
     D probation
       You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _ as directed by the
                 officer. (Curfew)

          You are restricted to your residence at all times except for employment; education; religious services;
          medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
          obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     D other
       You are restricted to your residence at all times except for medication necessities and court appearances or
             activities specifically approved by the court. (Home Incarceration)


D probation
  Be monitored while under supervision with location monitoring technology at the discretion of the
            officer, which shall be utilized for the purposes of verifYing compliance with any comt-imposed
      condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
      their ability to pay as directed by the court andlor probation officer.
